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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF COLORADO

IN RE:                             )
                                   )       Case No. 24-12624-KHT
DNC and TCPA LIST                  )
SANITIZER, LLC                     )
                                   )       Chapter 11
                                   )
     Debtor                        )


MICHAEL O’HARE,                    )
                                   )
                                   )
              Plaintiff,           )
                                   )       Adv. Proceeding No. 25-1124-KHT
v.                                 )
                                   )
ADAM YOUNG, an individual;         )
And                                )
RINGBA, LLC, a Delaware            )
limited liability company          )
                                   )
              Defendants.          )



  MEMORANDUM OF LAW IN SUPPORT OF COMPLAINT OF DNC AND
       TCPA LIST SANITIZER, LLC AND MICHAEL O’HARE FOR A
  TEMPORARY RESTRAINING ORDER AND FOR DECLARATORY AND
                           INJUNCTIVE RELIEF
 ___________________________________________________________________________




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      DNC and TCPA List Sanitizer, LLC, the Debtor-in-Possession, (“TCPA” or

the “Debtor”) and its principal, Michael O’Hare, respectfully submit this

memorandum of law in support of their Complaint seeking (i) a temporary

restraining order and preliminary injunction enjoining Creditors Adam Young and

Ringba, LLC (collectively “Ringba”) from continuing prosecution a contempt

proceeding (the “Contempt Litigation”) against Mr. O’Hare arising from a state

court litigation (“State Court Litigation”)1 and (ii) in the alternative, a declaration of

the Court that the continued prosecution of the Contempt Litigation against the Mr.

O’Hare is a violation of the automatic stay provisions of 11 U.S.C. §362.

      Ringba’s attempt to proceed with the Contempt Litigation is a clear and

impermissible circumvention of the Bankruptcy Code’s automatic stay protections.

Although the underlying allegations in the Contempt Litigation assigns blame to

the Debtor TCPA for its participation in this proceeding, Ringba seeks to recover

from Debtor’s principal, Mr. O’Hare in an end run around the Bankruptcy Code’s

protection of the automatic stay.

      Additionally, Ringba urges this Court to prejudge the Debtor’s conduct as

taken in bad faith, even though the state court has made no determination of

whether Debtor violated any orders. Moreover, the Debtor will not be a party to

any hearing in the Contempt Litigation. Nonetheless, the state court will be

compelled to make determinations about whether the Debtor, a non-party to that




1The State Court Litigation was filed prior to the Debtor’s petition date and
resulted in a judgment against the Debtor.



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proceeding, violated a court order, which is in direct conflict with the federal

protections afforded under the automatic stay.

                       I.      PRELIMINARY STATEMENT

      During to the pendency of this bankruptcy proceeding, on September 5, 2024,

Defendants filed Motion for Contempt Citation against Plaintiff in the El Paso

County District Court, Cause No. 2021-CV-031668 (the “Contempt Litigation”).

      Ringba seeks to hold Mr. O’Hare personally liable for allegedly violating the

protective order when he, on behalf of TCPA as Debtor, sought leave from this

Court to conduct a Rule 2004 examination of Adam Young, Harrison Gervitz, and

Ringba, LLC. (ECF No. 135). However, because he is the Chief Executive Officer of

Debtor, the claim against him is in effect a claim against the Debtor. Any defense

costs, settlement payments, or adverse judgments incurred by Mr. O’Hare could

give rise to statutory and common law indemnification claims that can be asserted

against the Debtor’s estate.

      Moreover, if the Debtor is forced to participate in the Contempt Litigation to

protect its interests, it will continue to expend significant time and resources, to the

detriment of the bankruptcy estate. Therefore, the continuation of the Contempt

Litigation against Mr. O’Hare will have immediate adverse economic consequences

for the Debtor’s estate and may increase administrative claims and delay payments

to unsecured creditors as a part of the Debtor’s reorganization efforts.

      This adversary proceeding seeks two alternative forms of relief against Adam

Young and Ringba, LLC (collectively, “Ringba” or the “Defendants”). First, a

declaration that, pursuant to 11 U.S.C. §362, Defendants are stayed from the



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continued prosecution of the Contempt Litigation against Mr. O’Hare. Second, in

the alternative, an injunction pursuant to 11 U.S.C. §105 enjoining Ringba from

pursing the Contempt Litigation against Mr. O’Hare. As explained below, relief is

necessary from this Court to ensure that the Debtor is not forced to waive its rights

under the automatic stay by being required to participate in the Contempt

Litigation to protect its interests and property of the bankruptcy estate.

                               II.    JURISDICTION

        The Complaint is an adversary proceeding initiated by the Debtor and Mr.

O’Hare pursuant to Rule 7001(7) (to obtain an injunction or other equitable relief),

Rule 7001(9) (to obtain a declaratory judgment) and Rule 7003 of the Federal Rules

of Bankruptcy Procedure.

        Bankruptcy Rule 7065 provides that a temporary restraining order or

preliminary injunction may be issued by the Court without security.

        The Debtor seeks declaratory judgment and injunctive relief to protect the

Debtor’s property as of the commencement of the case and property of the estate.

        This Court has jurisdiction over the parties and the subject matter of the

Complaint pursuant to 28 U.S.C. §157 and 28 U.S.C. §1334 and the standing order

of reference in this judicial district. The Complaint is a core proceeding within the

meaning of 28 U.S.C. §157(b)(2)(G) an accordingly, this Court has the power to

enter final findings of fact and conclusions of law, subject to review pursuant to 28

U.S.C. §158. Venue is proper before this Court pursuant to 28 U.S.C. § 1408 and

1409.




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                        III.   FACTUAL BACKGROUND

      A.     The Debtor

      TCPA is a technology and information company in the business of providing

lists of telephone numbers to its customers to aid them in avoiding litigation for

violating the Telephone Communications Privacy Act. TCPA is owned in part and is

managed by O’Hare. On May 16, 2024, (the “Petition Date”), the Debtor commenced

a case under subchapter 5, of title 11 of the United States Code (the “Bankruptcy

Code”).

      The Debtor continues to manage its business as a debtor in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

      B.     The State Court Litigation

      In 2020, Defendant Ringba registered for an account with TCPA and

downloaded TCPA’s trade secret information in violation of the terms and

conditions of TCPA’s website. TCPA sued Ringba, Young, and others for breach of

contract among other claims. That action constitutes the State Court Litigation,

Case No. 2021-CV-031668 (El Paso County, Colorado).

      The El Paso County District Court entered terminating sanctions against

TCPA for repeated discovery violations and awarded Ringba over $650,000 in costs

and attorney fees. TCPA filed this bankruptcy action on May 16, 2024, in part due

to the attorney fee award. (ECF No. 1). Ringba filed a proof of claim, which TCPA

contests.

      TPCA appealed the terminating sanctions and the attorney fee award

amount. The terminating sanctions were affirmed by the Colorado Court of




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Appeals, but a petition for certiorari is pending with the Colorado Supreme Court.

Briefing to the Colorado Court of Appeals on the attorney fee amount was recently

completed. Ringba’s consolidated briefing in the two appeals brazenly admits that

TCPA produced as compelled by the court, but contends that it should be sanctioned

anyway. See TCPA Litigator List v. Ringba, LLC et al., No. 2024CA265. 2

      Because of the broad discovery available in this Court, and because TCPA is

permitted to contest the viability of Ringba’s claim in this bankruptcy, Debtor, not

Mr. O’Hare personally, sought discovery under Rule 2004. Without disclosing the

information that the Court sealed, the discovery relates generally to a criminal

investigation and proceeding against Ringba, LLC, Adam Young, and Harrison

Gevitrz that can also be gleaned from publicly available information regarding a

blue screen of death tech support fraud. 3




2 Combined with their briefing in 2023CA891, Ringba admits the following:
       TCPA’s website “was based on the backend code that [Ringba] had been
requesting for months and that was the subject of numerous discovery requests and
court orders,” and for which TCPA had been sanctioned (Ans. Br., 2023CA891 at 18-
19); and
       TCPA “offered to produce the backend data for [its] website in a clean room.”
2024CA265, Ans. Br. at 10-11.
3 United States v. Sean Hitchcock, No. 24-cr-47-JJM, (D.R.I.) . The government’s

information and the sentencing hearing transcript of its former employee detail
Ringba’s alleged “tech support” fraud as follows:

        [The] Government’s evidence would establish the following: First,
        that tech support fraud was a multitiered form of telemarketing
        fraud in which, first, publishers posted online advertisements that
        misled victims to believe that viruses had been detected on the
        victims’ computers and then urged the victims to telephone a
        specified number for assistance.




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See United States v. Sean Hitchcock, No. 24-cr-47-JJM, (D.R.I.); Ringba, LLC v.

Sean Hitchcock, et al, No. 24CA2583 (13rd Judicial Circuit Court, Hillsborough

County, Florida), Dkt. No, 90 (Order granting “DEFENDANTS' MOTION TO STAY

PENDING CRIMINAL TRIAL OF RINGBA, LLC”).

      Ringba quickly moved to seal TCPA’s request for Rule 2004 discovery here,

which the Court granted; and in parallel, it filed a Motion and Affidavit for Citation

of Contempt of Court, in which it alleged that O’Hare, on behalf of Debtor, allegedly

used information that was designated as “highly confidential-attorney’s eyes only”

to create an interrogatory attached to TCPA’s Motion for Leave to Conduct a Rule

2004 examination. (ECF No. 135).

      Remarkably, during a hearing on October 8, 2024, Ringba’s counsel,

represented to this Court that TCPA, as the debtor, had violated bankruptcy

procedures and rules by O’Hare retaining undersigned counsel to represent

himself. And yesterday, on April 9, 2025, Ringba asked this Court to deny approval

of the Debtor’s proposed plan, citing Debtor’s bad faith in propounding Rule 2004

interrogatories for purported violation of the State Court Litigation Protective




        Second, victim telephone calls generated by these misleading ads
        were sold and routed directly to call centers or intermediary call
        brokers through whom the calls were ultimately sold and routed to
        call centers.

        And, third, call center operators received the victims’ calls and
        offered the victims computer technical support in exchange for
        payment.




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Order. (Dkt. No. 359, ¶35). The Contempt Litigation arises out of, and is directly

and inextricably intertwined with, the bankruptcy proceeding before this Court.

     C.    The Need for a Temporary Restraining Order and Declaratory
and Injunctive Relief

      The Debtor was forced into bankruptcy due to the overwhelming economic

pressures exerted by the attorney fee award. Now, the cost of defense of the

Contempt Litigation and the potential liability of the Debtor and Mr. O’Hare arising

from Contempt Litigation have, and will continue to, immediately and irreparably

harm the Debtor’s resources, bankruptcy estate, and delay reorganization under

Chapter 11 of the Bankruptcy Code, via an increase of administrative expenses.

      The Debtor may be obligated under statutory and common law

indemnification principles to (1) reimburse the Plaintiffs for costs in defending the

Contempt Litigation; and (2) indemnify the Plaintiffs for any judgments rendered

against Mr. O’Hare therein. If the Contempt Litigation is not immediately stayed,

Mr. O’Hare will continue to incur costs of defending that lawsuit.

      Moreover, to the extent the Mr. O’Hare is determined to be liable for any

claim asserted in the Contempt Litigation, such judgment or settlement may be

imputed upon the Debtor, which could bind the Debtor to a liquidated amount for

indemnity purposes. This scenario not only forces the Debtor to remain active in

the Contempt Litigation in order to protect its interests, but also results in the

unauthorized liquidation of an unliquidated claim outside the Bankruptcy Court.

      Second, due to the nature of the relationship between Mr. O’Hare and the

Debtor, and the fact that Ringba seek to hold Mr. O’Hare liable solely based on his




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conduct in relation to this bankruptcy case and not based upon his independent

conduct, a judgment against him necessarily requires a finding of liability on the

part of the Debtor. The state court will be required to evaluate the Debtor’s

conduct, through its manager, to determine whether a violation of a court order

occurred upon which Mr. O’Hare’s liability, for Debtor’s conduct, can be predicated.

      Allowing the Contempt Litigation to continue against Mr. O’Hare creates a

lose-lose situation for the Debtor, its bankruptcy estate, and its creditors. On the

one hand, should the Debtor not participate in the Contempt Litigation, it will be

deprived of the opportunity to properly protect its interests and defend against

Defendants’ allegations, and should a judgment render in favor of Defendants, the

Debtor will be unfairly bound by the judgment. On the other hand, should the

Debtor participate in the Contempt Litigation, it will be forced to expend what

promises to be a substantial amount of time and resources to protect its interests.

Both scenarios will deplete property of the Debtor’s bankruptcy estate,

disadvantage the Debtor’s other creditors, and increase administrative claims while

delaying the reorganization process if the administrative claim needs to be

liquidated.

      At this juncture, the prompt issuance of a declaration concerning the

application of the automatic stay to Mr. O’Hare and award of injunctive relief are

necessary to protect the Debtor, its bankruptcy estates, and its creditors from the

immediate and irreparable harm that has been and will continue to be caused by

the continuation of the Contempt Litigation against Mr. O’Hare.




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                                    IV.    ARGUMENT

       A.    The Court Should Issue a Declaration that the Contempt
 Litigation Against Mr. O’Hare is Stayed Pursuant to Section 362(a)(1) and
 (3).

          Because the Contempt Litigation against Mr. O’Hare impacts the Debtor, its

 estate and requires an adverse finding as against the Debtor for there to be any

 liability against Mr. O’Hare, the assertion and prosecution of such claims are

 equivalent to a violation of the automatic stay. Pursuant to Bankruptcy Code section

 105{a), the Court can extend the stay to claims against Mr. O’Hare. ln Celotex Corp.

 v. Edwards, 514 U.S. 300 (1995), the United States Supreme Court ruled that, even

 in a non-core proceeding, the bankruptcy court may issue an injunction as long as it

 is not final. Here, the Debtor and Mr. O’Hare’s Complaint is a core proceeding

 requesting issuance of orders carrying out provisions of title 11. Thus, the Court is

 clearly empowered to grant a declaratory judgment that the continuance of Contempt

 Litigation against Mr. O’Hare is a violation of the automatic stay.

          Section 1334 of title 28 grants the Bankruptcy Court broad power to issue

 orders necessary to effectuate reorganization. See e.g. In re Johns-Manville Corp, 801

 F.2d 60, 62, 63-64 (2d Cir. 1986); Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d Cir.

 1984).

          A primary vehicle for enforcement of the bankruptcy courts’ jurisdictional

 grant is the automatic stay pursuant to 11 U.S.C. § 362. Section 362(a) provides in

 relevant part as follows:

           Except as provided in subsection (b) of this section, a petition filed
           under § 301, 302, or 303 of this title operates as a stay, applicable to
           all entities, of




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         (1) the commencement or continuation, including the issuance or
         employment of process, of a judicial, administrative, or other action
         or proceeding against the debtor that was or could have been
         commenced before the commencement of the case tinder this title, or
         to recover a claim against the debtor that arose before the
         commencement of the case under this title; * * *

         (3) any act to obtain possession of property of the estate or of
         property from the estate or to exercise control over property of the
         estate.
 11 U.S.C. § 362(a)(l) and (3).

       Section 362(a)(l) will be imposed to stay an action against a nondebtor party

 “when there is such identity between the debtor and the third-party defendant that

 the debtor may be said to be the real party defendant and that the judgment

 against the third-party defendant will in effect be a judgment or finding against the

 debtor.” Oklahoma Federated Gold & Numismatics, Inc. v. Blodgett, 24 F.3d 136,

 141 (10th Cir. 1994) (quoting A.H. Robins Co. v. Piccinin, 788 F.2d 994, 999 (4th Cir.

 1986). Based upon the facts set forth herein, it is undisputable that this standard is

 satisfied in this case. See also, Robert W. Thomas & Anne McDonald Thomas

 Revocable Tr. v. Inland Pac. Colorado, LLC, No. 11-CV-03333-WYD-KLM, 2013 WL

 708493, at *2 (D. Colo. Feb. 26, 2013).

       Section 362(a)(3) provides that a chapter 11 petition operates as a stay,

 applicable to all entities, of “any act to obtain possession of property of the estate or

 property from the estate or to exercise control over property of the estate.” The Fifth

 Circuit set forth three factors to determine whether the stay pursuant to §362(a)(3)

 applies to claims against non-debtor entities:




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           (1) the automatic stay applies to a cause of action that under state
           (or federal) law belongs to the debtor, or

           (2) the automatic stay applies to a cause of action that seeks to
           recover property of the estate when the property is held or controlled
           by a person or entity other than the debtor, and

           (3) in applying the above rules, a court must keep in mind the
           general bankruptcy policies of securing and preserving the debtor's
           property and ensuring equal distribution of the Debtor's assets to
           similarly-situated creditor.
 Schimmelpenninck v. Byrne (In re Schimmelpenninck), 183 F.3d 347, 355 (5th Cir.

 1999).

          In the present action, the Debtor may be subject to indemnity claims

 asserted by Mr. O’Hare for any damage in accordance with state law indemnity

 statutes. Accordingly, any defense costs, settlement payments, or adverse

 judgments incurred by Mr. O’Hare could give rise to common law indemnification or

 contribution claims that can be asserted against the Debtor’s estate. Moreover, the

 Contempt Litigation attributes no independent wrongdoing Mr. O’Hare.

          Rather the Contempt Citation filed in the State Court Litigation asserts that

 Mr. O’Hare acted on and behalf of the Debtor: “TPCA Litigator, at the direction

 of Michael O’Hare [disclosed AEO information].” Mtn. for Contempt Citation ¶

 12 (Sept. 4, 2024)(emphasis added).

          In Colorado, members or managers of a limited liability company are entitled

 to indemnification for liability incurred in the ordinary course of business or

 preservation of its business, so long as the liabilities were incurred without

 violating that person’s duties to the LLC. C.R.S. § 7-80-407. In short, any liability

 imposed on Mr. O’Hare is subject to indemnity. Thus, there is such identity between




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 the Debtor and Mr. O’Hare that the Debtor may be said to be the real party

 defendants and that a judgment against the Mr. O’Hare will in effect be a judgment

 or finding against the Debtor. Inland Pac. CO, 2013 WL 708493, at *2.

       Because Ringba’s claims against Mr. O’Hare are predicated entirely on a

 theory of the Debtor’s liability, unless and until there is a finding of violation of the

 State Court Litigation Protective Order on the part of the Debtor, there cannot be a

 finding of liability on the part of Mr. O’Hare. Under these circumstances and the

 theories of liability pursued by Ringba in the Contempt Litigation, the Debtor and

 Mr. O’Hare are so entwined that they cannot be parsed—there is no way the

 Contempt Litigation can proceed against Mr. O’Hare without implicating the

 Debtor. See Crocs, Inc. v. Effervescent, Inc., 2018 U.S. Dist. LEXIS 44400, *4-6, No.

 06-cv-00605-PAB-KMT/16-cv-02004-PAB-KMT (D. Colo., March 19, 2018). . .The

 prosecution of any claim against Mr. O’Hare will necessarily “have an immediate

 adverse economic consequence” for the Debtor’s estates. Queenie, Ltd. v. Nygard

 Int’l, 321 F.3d 282, 287 (2d Cir. 2003). Moreover, to the extent that Ringba asserts

 a de facto claim against the Debtor, it violates the automatic stay.

       The Court should issue a declaration that the Contempt Litigation against

 Mr. O’Hare stayed for the additional reason that Mr. O’Hare and the Debtor have

 such identity of interest that the suit against him are essentially a suit against the

 Debtor. Any finding of liability against him requires a finding of liability against

 the Debtor. See Crocs, Inc. v. Effervescent, Inc., 2018 U.S. Dist. LEXIS 44400, *4-6,

 No. 06-cv-00605-PAB-KMT/16-cv-02004-PAB-KMT (D. Colo., March 19, 2018). The




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 Crocs Court found that because there was “significant entwinement among the

 parties and the claims asserted,” and to avoid proceeding in “a piecemeal fashion,”

 judicial economy would best be served by staying the non-bankruptcy proceedings

 though an administrative closure of the pending lawsuits.

       As explained in A.H. Robins Co. v. Piccinin, the Fourth Circuit affirmed an

 order that enjoined litigation pending in various state and federal courts against

 the debtor’s co­defendants, some of whom were non-debtor employees. The Fourth

 Circuit concluded that section 362(a)(l) applies to stay actions against non-debtor

 entities “when there is such identity between the debtor and the third-party

 defendant that the debtor may be said to be the real party defendant and that a

 judgment against the third-party defendant will in effect be a judgment or finding

 against the debtor.” A.H. Robins Co.,788 F.2d at 999; see also McCartney v. Integra

 Nat’l Bank North, 106 F.3d 507, 511 (3rd Cir. 1996) (because debtor would have been

 the real party in interest in deficiency judgment action against his wholly-owned,

 non-debtor corporation, automatic stay precluded pursuit of such action against the

 non-debtor).

       The facts and analysis of the Colorado district court’s opinion in Inland Pac.

 Colorado, LLC, are instructive in this case. No. 11-CV-03333-WYD-KLM, 2013 WL

 708493, at *2. There, the court extended the protection of the automatic stay to co-

 defendants in a case involving a similar set of allegations to the one at bar. Prior to

 the debtor filing for bankruptcy, the plaintiff sued the debtor company, its

 President, O’Byrne, and WPDC, an entity receiving a transfer from the debtor




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 company. The plaintiff alleged that the president of the debtor company violated

 Colorado’s Uniform Fraudulent Transfer Act (“CUFTA”) and that the entity

 receiving a transfer from the debtor was unjustly enriched as a result of the

 fraudulent transfer. Id. at *1. In ruling that the automatic stay extended to

 O’Byrne and WPDC, the court reasoned as follows:

        In the case at hand, it appears that the claims asserted by Plaintiff
        against [the debtor’s] codefendants may adversely impact the
        bankruptcy proceeding and the assets of [the debtor] and thus
        impact [the debtor’s] efforts at reorganization. This is most clear as
        to the claim under CUFTA against O’Byrne. Defendants point out
        that [the debtor’s] bankruptcy estate includes four fraudulent
        transfer claims. A claim that [the debtor’s] assets were fraudulently
        transferred by O’Byrne or others would appear to be a claim that
        should be resolved in the bankruptcy proceeding, as it is an asset of
        [the debtor]. If [the debtor] is hindered in its ability to prosecute
        those claims and to use proceeds from the claims to satisfy all of its
        creditors because of a judgment in this case on the CUFTA claim,
        [the debtor’s] efforts to reorganize may be stifled. Further, a finding
        that O’Byrne, the president of [the debtor], transferred assets out of
        the company could be found to be binding against [the debtor].

        Similarly, the claim against WPDC, while not couched as a
        fraudulent transfer claim, also would appear to impact the
        fraudulent transfer claims in the bankruptcy proceeding as it
        alleges that WPDC was unjustly enriched by the transfer to it, and
        its current ownership of, property that previously belonged to [the
        debtor]. The CUFTA and unjust enrichment claims in this Court
        involve essentially the same facts and same witnesses as in the
        bankruptcy fraudulent transfer claims. The witnesses will be
        identical, and the same documents and evidence will be used to
        prove each of the claims. Allowing the Trust to pursue these claims
        would appear to frustrate the purposes of the automatic stay
        provision as it would subject [the debtor] to a “scramble for its
        assets” in both this proceeding and the Bankruptcy Case and also
        allow the Trust to pursue its remedy to the disadvantage of other
        creditors.
 Id.




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       The claims against Mr. O’Hare are not separate and independent from those

 asserted against the Debtor. Indeed, Ringba expressly states as much: “TPCA

 Litigator, at the direction of Michael O’Hare [disclosed AEO information].”

 Mtn. for Contempt Citation ¶ 12 (Sept. 4, 2024)(emphasis assed).

       Staying the Contempt Litigation is critical to prevent waiver of the

 protections provided automatic stay afforded the Debtor pursuant to Section 362 of

 the Bankruptcy Code. The legislative history of section 362 illustrates Congress’

 intent to afford a broad scope to the automatic stay in order to maximize the stays

 protections of both the Debtor and creditors:


         The automatic stay is one of the fundamental debtor protections
         provided by the bankruptcy laws. It gives the debtor a breathing
         spell from his creditors. It stops all collection efforts, all harassment,
         and all foreclosure actions, it permits the debtor to attempt a
         repayment or reorganization plan, or simply to be relieved of the
         financial pressure that drove him into bankruptcy.
 H.R. Rep. No. 595, 95th Cong., 1st Sess. 340 (1977); S. Rep. No. 989, 95th Cong., 2d

 Sess. 54-55 (1978), reprinted in 1978 U.S. Code Cong. &Admin. News 5787, 5840-

 41, 5963. See also Job v. Calder (Tn re Calder), 907 F.2d 953,957 (10th Cir. 1990)

 (“purpose of automatic stay is to give debtor a breathing spell from his creditors”)

 (citations omitted); McCartney v. Integra Nat’l Bank North 106 F.3d 506, 509 (3d

 Cir. 1997) citing Maritime Elec. Co. Inc. v. United Jersey Bank, 959 F.2d 1194, 1204

 (3d Cir. 1991) (automatic stay prevents debtor’s estate from being eaten away by

 creditors' lawsuits before estate has chance to reorganize); In re The Drexel

 Burnham Lambert Group. Inc., 113 BR. 830,837 (Banks, S.D.N.Y. 1990) (“automatic

 stay is key to the collective and preservative nature of a bankruptcy proceeding”).




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       Such circumstances are present here. Absent a declaration that the

 automatic stay applies to the Contempt Litigation against Mr. O’Hare, the Debtor

 will be deprived of the “breathing spell” contemplated by Congress to permit a

 chapter 11 Debtor an orderly environment in which to formulate and propose a

 chapter 11 plan.

       Because the Contempt Litigation will force the Debtor to effectively waive the

 benefit of the automatic stay and devote its valuable resources of the estate to

 preserve its rights, the Court should declare that the automatic applies to Mr. O’Hare.

      B.    The Court Should Enjoin Litigation Against Mr. O’Hare
 Pursuant to Bankruptcy Code Section 105(a) to Carry Out Bankruptcy
 Code Sections 524(a) and 1129.

       The standard in the Tenth Circuit for the issuance of a preliminary

 injunction pursuant to Fed. R. Civ. P. 65, made applicable herein by Fed. R. Bankr.

 P. 7065, requires that the party seeking such relief demonstrates both irreparable

 harm if the relief is not granted and prima facie showing of a reasonable likelihood

 of success on the merits. Lundgrin v. Claytor, 619 F. 2d 61, 63 (10th Cir. 1980)

 (citing Crowther v. Seaborg, 415 F.2d 437,439 (101h Cir. 1969)). The Debtor is

 entitled to injunctive relief where the undisputed facts show that the Debtor is the

 true target of the Contempt Litigation, in violation of the automatic stay, and, as a

 result, the Contempt Litigation will irreparably harm the Debtor’s restructuring

 efforts via a significant increase in administrative expenses.

       The applicable standard for issuance of a temporary restraining order

 mirrors the standard governing the issuance of a preliminary injunction.

 Specifically, the movant must demonstrate irreparable harm, and either (1) a




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 likelihood of success on the merits of its case or (2) sufficiently serious questions

 going to the merits to make them a fair ground for litigation and a balance of the

 hardships tipping decidedly in its favor. Fed. R. Bankr, P. 7065.

       However, in the bankruptcy context, preliminary injunctions are issued

 pursuant to section 105(a) of the Bankruptcy Code and Bankruptcy Rule 7065.

 Section 105(a) confers upon the Bankruptcy Court the authority to “issue any order,

 process, or judgment that is necessary or appropriate to carry out the provisions of

 [the Bankruptcy Code].” 11 U.S.C. § 105(a).

       A section 105 injunction may be issued to enjoin a third party lawsuit where

 there is an “identity of interest” between the debtor and the non-debtor such that

 the debtor is the real party in interest and the litigation would “directly affect the

 debtor and, more particularly, the debtor’s assets or its ability to pursue a

 successful plan of reorganization.” Gillman v. Continental Airlines, Inc. (In re

 Continental Airlines), l 77 B,R. 475, 479 {D. Del. 1993). As explained herein, this

 standard is satisfied as it pertains to the Contempt Litigation and Mr. O’Hare.

       An injunction under section 105(a) is warranted where (1) there is danger of

 imminent, irreparable harm to the estate including delaying the debtor’s

 reorganization efforts if the administrative expense has to be liquidated first, (2)

 there is a reasonable likelihood of a successful reorganization, (3) the balance of

 hardship weighs in favor of the debtor, and (4) the public interest in a successful

 bankruptcy reorganization outweighs competing interests. In re Health Care Org.,

 210 B.R. 228, 232-33 (S.D.N.Y.1 1997). As discussed more fully below, the Debtor




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 and Mr. O’Hare’s motion to enjoin the Contempt Litigation against Mr. O’Hare

 satisfies each of these requirements.

              1.     There is a Danger of Irreparable Harm to the Debtor.

       The Debtor’s reorganization efforts will be negatively impacted if the Contempt

 Litigation is allowed to proceed against Mr. O’Hare, and will likely result in an

 increase of administrative expenses. There is the risk that indemnification claims

 could be asserted against and fix liability against the Debtor. The Debtor may be

 obligated under statutory and common law indemnification principles to reimburse

 Mr. O’Hare his costs in defending the Contempt Litigation and indemnify Mr. O’Hare

 for any judgments rendered against him therein. C.R.S. § 7-80-407 (members or

 managers of a limited liability company entitled to indemnification for liability

 incurred in the ordinary course of business or preservation of its business).

       As explained, Ringba’s claim of wrongdoing is directed against TCPA, for

 TCPA’s conduct in this bankruptcy proceeding, and it intends to hold Mr. O’Hare, in

 his capacity as an officer for the Debtor as the responsible party for violating a

 protective order for potentially disclosing publicly available information about a

 criminal investigation into Ringba’s fraud on the American public.

       The Contempt Litigation is an attempt to circumvent the automatic stay

 afforded to debtors. Any judgment against Mr. O’Hare would impede upon the

 Debtor’s ability to reorganize. Indeed, Ringba is using the potential liability against

 Mr. O’Hare as a foregone conclusion of bad faith and wrongdoing by TCPA and

 objects to confirmation on that basis.




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          Moreover, a judgment against Mr. O’Hare in the Contempt Litigation would

 necessarily require a finding of wrongdoing against TCPA, although TCPA is not a

 party to that proceeding.

               2.   There is a Reasonable Likelihood of a Successful
          Reorganization.

          At the present time, the Debtor can easily demonstrate a reasonable

 likelihood of a successful reorganization. The Debtor is diligently pursuing efforts to

 formulate and effectuate a plan of reorganization, and indeed, it has amended its

 plan multiple times to address the creditors’ objections. The tight time frames of the

 Subchapter V of Chapter 11 will keep this case moving forward on an expedited

 basis.

                3.     The Balance of Hardship Weighs in Favor of the Debtor.

          The balance of hardships tips decidedly toward the Debtor. For the reasons

 discussed above, the harm to the Debtor includes additional costs that it may incur

 to indemnify Mr. O’Hare and more importantly, the Contempt Litigation will detract

 from the Debtor’s efforts in reorganization. As noted above, the central allegation in

 the contempt citation is against TCPA, which Ringba alleges acted at the direction

 of Mr. O’Hare. Thus, the Debtor will be adjudicated as liable, although not afforded

 the benefit of an automatic stay.

          Conversely, given the short time in which the Debtor anticipates that it will

 remain in chapter 11, staying the further prosecution of the Contempt Litigation

 against Mr. O’Hare will not prejudice Ringba.

                4.     The Granting of the Injunction Serves The Public
          Interest




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       The injunction the Debtor requests will serve the public interest by assisting

 the reorganization of a beleaguered entrepreneurs. In re American Film

 Technologies, 175 B.R. at 849 (in the bankruptcy context “public interest” is met by

 promoting successful reorganization); Sudbury, 140 B.R. at 465 (“[c]ourts have

 generally recognized a public interest in reorganization”) (citing United States v.

 Whiting Pools, Inc., 462 U.S. 198,204 (1983)); Johns­ Manville v. Asbestos Litig.

 Group (in re Johns-Manville Com., 26 BR. 420,428 (Bankr.S.D.N.Y. 1983) (“this

 court finds the goal of removing all obstacles to plan formulation eminently

 praiseworthy and supports every lawful effort to foster this goal while protecting

 the due process rights of all constituencies”).

       Given the strong possibility of a successful reorganization if the relief

 requested herein is granted, the public interest weighs strongly in favor of granting

 the injunction. Absent an injunction, as explained herein, the ability of the Debtor

 to successfully reorganize may be seriously jeopardized.

       Pursuant to the Courts powers under section 105(a) of the Bankruptcy Code

 to “issue any order, process, or judgment that is necessary or appropriate to carry

 out the provisions of this title,” as well as the ability of the Debtor to meet all four

 elements of the test for injunctive relief, the Debtor seek injunctive relief to bar

 Ringba from pursuing the Contempt Litigation against Mr. O’Hare.

                                  V.     CONCLUSION


       For the foregoing reasons, the Court should (i) issue a declaratory judgement

 that continuing the Contempt Litigation against Mr. O’Hare is a violation of the




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 automatic stay, (ii) in alternative, enter an order preliminarily enjoining Ringba

 from continuing the Contempt Litigation, and (iii) granting such other and further

 relief as the Court deems just.

 April 11, 2025.

                                   Respectfully submitted,


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